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EXHIBIT 126
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From:            De Palma, Richard
To:              Grossbaum, Alexandra Leigh
Cc:              Weigel, Robert; Hogan, Howard S.; Nagin, Lauren M.L.
Subject:         RE: Nike, Inc. and Converse Inc. v. Wu, 2013 Civ. 8012 (S.D.N.Y)
Date:            Wednesday, December 6, 2017 4:42:07 PM


Counsel,

Thank you for your correspondence.

Please be advised that, as previously indicated, I am retained by Bank of China Limited, New York
Branch only. As such, I have been authorized by the New York Branch to agree to accept service of
the subpoena for the New York Branch only. My authority does not extend to accepting service for
the Bank generally or to any branches, including the Head Office, outside of New York. If you can
accept that limitation, I will be happy to accept service of the subpoena on behalf of the New York
Branch. If that limitation is unacceptable to you, I will not be able to accept service.

I will respond to the remainder of your letter by separate correspondence shortly. It may make
sense to meet and confer at that point, and I would be pleased to do so.

Best regards,

Rich

From: Grossbaum, Alexandra Leigh [mailto:AGrossbaum@gibsondunn.com]
Sent: Thursday, November 30, 2017 4:53 PM
To: De Palma, Richard
Cc: Weigel, Robert; Hogan, Howard S.; Nagin, Lauren M.L.
Subject: Nike, Inc. and Converse Inc. v. Wu, 2013 Civ. 8012 (S.D.N.Y)

Mr. De Palma,

Please see the attached correspondence which was also sent via First Class Mail.

Best,

Alexandra

Alexandra Grossbaum


GIBSON DUNN
Gibson, Dunn & Crutcher LLP
200 Park Avenue, New York, NY 10166-0193
Tel +1 212.351.2627 • Fax +1 212.351.6228
AGrossbaum@gibsondunn.com • www.gibsondunn.com



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error, please reply to advise the sender of the error and then immediately delete this message.
